Case 1:21-cv-03354-BAH Document 44-11 Filed 04/17/23 Page 1 of 6




            EXHIBIT 9
       Case 1:21-cv-03354-BAH Document 44-11 Filed 04/17/23 Page 2 of 6



                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

RUBY FREEMAN, et al.,

                      Plaintiffs,                 Civil Action No. 21-3354 (BAH)

                      v.                          Chief Judge Beryl A. Howell

RUDOLPH W. GIULIANI,

                      Defendants.



                 DEFENDANTS RUDOLPH W. GIULIANI’S AMENDED
                      RULE 26(a)(1) INITIAL DISCLOSURES

       Defendant Rudolph W. Giuliani (“Giuliani” or “Defendant”), pursuant to Rule 26(a)(1) of

the Federal Rules of Civil Procedure, provides the following amended initial disclosures based on

current knowledge and information reasonably available to him at this time. Giuliani reserves the

right to revise, supplement or otherwise update these disclosures.

        Initial Disclosure (i): The name and, if known, the address and telephone number of each
individual likely to have discoverable information—along with the subjects of that information—
that the disclosing party may use to support its claims or defenses, unless the use would be solely
for impeachment.

       The following individuals are believed to likely have discoverable information that

Giuliani may use to support his claims and/or defenses. Giuliani reserves the right to modify or

supplement this list of witnesses, to call at trial or for deposition any additional or different

witnesses, including rebuttal and impeachment witnesses, and to present testimony from witnesses

concerning other subject areas if the need for such testimony arises. By identifying any potential

witness, Giuliani does not adopt any testimony offered by such witness.
       Case 1:21-cv-03354-BAH Document 44-11 Filed 04/17/23 Page 3 of 6


Name and Contact Information (if known)        Subjects of Discoverable Information

                                               All causes of action.

1. Rudolph Giuliani
   c/o Joseph D. Sibley IV
   1108 Lavaca St,
   Ste 110263
   Austin, TX 78701

2. Ruby Freeman                                All causes of action.
   c/o
   WILLKIE FARR & GALLAGHER
   LLP
   1875 K Street NW
   Washington, DC 20006
   Tel: (202) 303-1000
   Fax: (202) 303-2000

3. Wandrea Moss                                All causes of action.
   c/o
   WILLKIE FARR & GALLAGHER
   LLP
   1875 K Street NW
   Washington, DC 20006
   Tel: (202) 303-1000
   Fax: (202) 303-2000

4. Brian Kemp                                  Information regarding Fulton County’s vote
   206 Washington Street, Ste 203              tabulation.
   State Capitol
   Atlanta, GA 30334

5. Brad Raffensperger                          Information regarding Fulton County’s vote
   Georgia Secretary of State                  tabulation.
   214 State Capitol
   Atlanta, GA 30334

6. Jordan Fuchs                                Information regarding Fulton County’s vote
   Georgia Deputy Secretary of State           tabulation.
   214 State Capitol
   Atlanta, GA 30334

7. Richard Barron                             Information regarding Fulton County’s vote
                                              tabulation.




                                          2
       Case 1:21-cv-03354-BAH Document 44-11 Filed 04/17/23 Page 4 of 6



8. Jackie Pick                                         Was involved with providing Giuliani with
                                                       information and discussing with Giuliani
                                                       allegations regarding Plaintiffs.

9. William Smith                                       Was involved with providing Giuliani with
                                                       information and discussing with Giuliani
                                                       allegations regarding Plaintiffs.

10. Burt Jones                                         Was involved with providing Giuliani with
    (Lieutenant Governor of Georgia)                   information and discussing with Giuliani
                                                       allegations regarding Plaintiffs.

11. Unknown Associates of Burt Jones                   Was involved with providing Giuliani with
                                                       information and discussing with Giuliani
                                                       allegations regarding Plaintiffs.

12. Unknown GOP Operatives                             Was involved with providing Giuliani with
                                                       information and discussing with Giuliani
                                                       allegations regarding Plaintiffs.

13. Jenna Ellis                                        Was involved with providing Giuliani with
                                                       information and discussing with Giuliani
                                                       allegations regarding Plaintiffs.

14. Bernard Kerik                                      Was involved with providing Giuliani with
                                                       information and discussing with Giuliani
                                                       allegations regarding Plaintiffs.

15. Ray Smith                                        Smith may have a copy of the video of Plaintiffs
    https://www.smithliss.com/lawyers/ray-smith.html that Giuliani initially reviewed.

16. Any witness disclosed by Plaintiffs                 N/A




        Initial Disclosure (ii): A copy—or a description by category and location—of all
documents, electronically stored information, and tangible things that the disclosing party has in
its possession, custody, or control and may use to support its claims or defenses, unless the use
would be solely for impeachment.

       a. Documents pertaining to the dispute surrounding vote counting in Fulton County,
          Georgia and evidence provided to government authorities.

       b. Witness statements regarding the vote counting in Fulton County, Georgia;

                                                3
          Case 1:21-cv-03354-BAH Document 44-11 Filed 04/17/23 Page 5 of 6



         c. Video recordings of Plaintiffs and others in the election facilities of Fulton County,
            Georgia;

         d. News reports regarding Plaintiffs and others in reference to their election work;

         e. Giuliani’s paper files that may contain information regarding Fulton County, Georgia
            and the 2020 Election; and

         f. Giuliani’s cell phones, iPad, laptops, and desktop computers to the extent they contain
            emails, messages, or other documents regarding Fulton County, Georgia and the 2020
            Election.


         Initial Disclosure (iii): A computation of each category of damages claimed by the
 disclosing party—who must also make available for inspection and copying as under Rule 34, the
 documents or other evidentiary material, unless privileged or protected from disclosures, on which
 each computation is based, including materials bearing on the nature and extent of injuries
 suffered.

         N/A

       Initial Disclosure (iv): For inspection and copying as under Rule 34, any insurance
 agreement under which an insurance business may be liable to satisfy all or part of a possible
 judgment in the action or to indemnify or reimburse for payments made to satisfy the judgment.

         None.


                                                 Respectfully submitted,

                                                 By: /s/ Joseph D. Sibley IV

                                                          CAMARA & SIBLEY L.L.P.

                                                            Joseph D. Sibley IV
                                                            DC Bar ID: TX0202
                                                            1108 Lavaca St.
                                                            Suite 110263
                                                            Austin, TX 78701
                                                            Telephone: (713) 966-6789
                                                            Fax: (713) 583-1131
                                                            Email: sibley@camarasibley.com

                                                      ATTORNEYS FOR RUDOLPH W. GIULIANI


                                      CERTIFICATE OF SERVICE

        I hereby certify that on this 24th day of March, 2023, I served the foregoing document via email to all
counsel of record by agreement.
                                                      4
Case 1:21-cv-03354-BAH Document 44-11 Filed 04/17/23 Page 6 of 6




                            /s/ Joseph D. Sibley IV
                            Joseph D. Sibley IV




                                5
